                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

In re: Angela V. Dudley                     )         Case No. 17-16967
                                            )         Chapter 13 Proceedings
       Debtor.                              )         Judge Jessica E. Price Smith

                 CHAPTER 13 TRUSTEE’S OBJECTION TO DEBTOR’S
                               MODIFIED PLAN

       Now comes LAUREN A. HELBLING, the duly appointed and qualified Standing
Chapter 13 Trustee (“Trustee”) herein, by and through counsel, and hereby objects to the
Debtor’s Modified Plan filed with this Court on December 1, 2017 (hereinafter “Debtor’s
Modified Plan”). In support of her objection, the Trustee makes the following representations to
the Court:

       1.     The Debtor’s 341 hearing is scheduled for January 10, 2018. The Trustee cannot
              determine if the requirements under Section 1325 of the Bankruptcy Code have
              been met until after the 341 hearing is held.

      WHEREFORE your Trustee, being a proper party in interest, hereby moves this
Honorable Court to deny the Debtor’s Modified Plan for the reasons cited.


                                            Respectfully submitted,

                                                /S/ Holly Davala
                                                HOLLY DAVALA (#0070447)
                                                Staff Attorney for Chapter 13 Trustee
                                                200 Public Square, Suite 3860
                                                Cleveland, OH 44114-2321
                                                (216) 621-4268 Phone
                                                (216) 621-4806 Fax
                                                Ch13trustee@ch13cleve.com




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                                CERTIFICATE OF SERVICE

I certify that on December 18, 2017, a true and correct copy of Trustee’s Objection was served:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on
the Court’s Electronic Mail Notice List:

       Whitney Kaster, Attorney, on behalf of Debtor, at wkaster@dannlaw.com

And by regular U.S. mail, postage prepaid, on:

       Angela V. Dudley, Debtor at 23818 Rushmore Drive, Cleveland, OH 44143


                                             /S/ Holly Davala
                                             HOLLY DAVALA (#0070447)
                                             Staff Attorney for Chapter 13 Trustee
                                             200 Public Square, Suite 3860
                                             Cleveland, OH 44114-2321
                                             (216) 621-4268 Phone
                                             (216) 621-4806 Fax
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12/18/17




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